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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-00199-NONE-BAM
12                                 Plaintiff,            STIPULATION TO CONTINUE STATUS
                                                         CONFERENCE AND ORDER THEREON
13                          v.
14   JESSIEL FELIX-RAMIREZ, ET. AL.                      Date: May 11, 2020
                                                         Time: 1:00 p.m.
15                                 Defendants.           Honorable Barbara A. McAuliffe
16

17          The United States of America, by and through MCGREGOR W. SCOTT, United States
18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by

19 and through their respective attorneys of record, hereby stipulate to continue the status conference in this

20 case from May 11, 2020 until September 14, 2020 at 1:00 p.m.

21          On April 17, 2020, this Court issued General Order 617, which suspends all jury trials in the
22 Eastern District of California scheduled to commence before June 15, 2020. This General Order was

23 entered to address public health concerns related to COVID-19.

24          Although the General Order addresses the district-wide health concern, the Supreme Court has
25 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

26 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.
27 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

28 exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id.

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 1 at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 2 judge ordering and ends-of-justice continuance must set forth explicit findings on the record “either

 3 orally or in writing”).

 4          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory
 5 and inexcusable—General Orders 6111, 612, and 617 require specific supplementation. Ends-of-justice

 6 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 7 the ends of justice served by taking such action outweigh the best interest of the public and the

 8 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 9 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

10 ends of justice served by the granting of such continuance outweigh the best interests of the public and

11 the defendant in a speedy trial.” Id.

12          The General Order excludes delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code
13 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

14 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

15 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

16 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

17 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

18 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

19 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

20 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

21          In light of the societal context created by the foregoing, this Court should consider the following
22 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

23 justice exception, § 3161(h)(7) (Local Code T4). If continued, this Court should designate a new date

24 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

25 pretrial continuance must be “specifically limited in time”).

26          The parties request that time be excluded between May 11, 2020 and September 14, 2020 for the
27 following reasons: the defendants need additional time to review the discovery, consult with their

28 clients, and conduct further investigation. The case involves several wire taps, drug seizures,

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 1 approximately 10,000 pages of discovery, and digital discovery in the form of several gigabytes. The

 2 proposed status conference date represents the earliest date that all counsel are available thereafter,

 3 taking into account counsels’ schedules, defense counsels’ commitments to other clients, and the need

 4 for preparation in the case and further investigation. In addition, the public health concerns cited by

 5 General Order 611, 612, and 617 and presented by the evolving COVID-19 pandemic, an ends-of-justice

 6 delay is particularly apt in this case because counsel or other relevant individuals have been encouraged

 7 to telework and minimize personal contact to the greatest extent possible. It will be difficult to avoid

 8 personal contact should the hearing proceed.

 9          The parties further believe that time should be excluded, in that failure to grant the requested
10 case schedule would unreasonably deny the defendants continuity of counsel, and unreasonably deny

11 both the defendants and the government the reasonable time necessary for effective preparation, taking

12 into account the parties’ due diligence in prosecuting this case. 18 U.S.C. Section 3161(h)(7)(B)(iv).

13 Based on the above-stated findings, the ends of justice served by the schedule as requested outweigh the

14 interest of the public and the defendant in a trial within the original date prescribed by the Speedy Trial

15 Act. Therefore, the parties request that the Court exclude the time until the new trial date from

16 calculations under the Speedy Trial Act.

17    Dated: April 26, 2020                                  MCGREGOR W. SCOTT
                                                             United States Attorney
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19                                                           /s/ Kathleen A. Servatius
                                                             KATHLEEN A. SERVATIUS
20                                                           Assistant United States Attorney

21
     Dated: April 26, 2020                                /s/ Roger Bonakdar
22                                                        Attorney for Eladio Felix-Leon

23
     Dated: April 26, 2020                                /s/ Reed Grantham
24                                                        Attorney for Defendant Jessiel Felix-Ramirez

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 1
                                                  ORDER
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 3          IT IS SO ORDERED that the Status Conference is continued from May 11, 2020 to September

 4 14, 2020 at 1:00 PM before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to

 5 18 U.S.C. Section 3161(h)(7)(B)(iv).

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     IT IS SO ORDERED.
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 9      Dated:    April 30, 2020                        /s/ Barbara A. McAuliffe          _
                                                  UNITED STATES MAGISTRATE JUDGE
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